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                                                                                            United States Bankruptcy Court
                                                                                                Southern District of Texas

                                                                                                   ENTERED
                     IN THE UNITED STATED BANKRUPTCY COURT                                       October 19, 2023
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                       Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

IN RE:                                                §
                                                      §       CASE NO: 23-90147
MOUNTAIN EXPRESS OIL COMPANY,                         §
     Debtors.                                         §       Jointly Administered
                                                      §       CHAPTER 7

                                       ORDER
                         SETTING ELECTRONIC STATUS HEARING
 Regarding ECF Nos. 286, 441, 488, 489, 536, 726, 752, 1011, 1113, 1152, 1218, 1238, 1265, 1270, 1299, 1300,
 1303, 1304, 1343, 1350, 1351, 1360, 1361, 1362, 1371, 1378, 1379, 1443, 1456, 1477, 1479, 1488, 1493, 1495,
               1505, 1508, 1519, 1526, 1529, 1533, 1536, 1537, 1540, 1545, 1546, 1547, & 1553

1.     The Court will conduct an electronic non-evidentiary status hearing on
       pending/unresolved motions at ECF Nos. 286, 441, 488, 489, 536, 726, 752, 1152, 1218,
       1238, 1378, 1443, 1456, 1477, 1505 & 1508 on October 30, 2023, at 9:00 am (Central
       Standard Time) before the United States Bankruptcy Court, Houston Division. For persons
       wishing to appear in person, the hearing will be held at the United States Courthouse, 1701
       W. Business Hwy 83, 10th Floor Courtroom, McAllen, TX 78501.

2.     The Court will conduct an electronic non-evidentiary hearing on pending/unresolved
       motions at ECF Nos. 1011, 1113, 1265, 1270, 1299, 1300, 1303, 1304, 1343, 1350, 1351,
       1360, 1361, 1362, 1371, 1379, 1479, 1488, 1493, 1495, 1519, 1526, 1529, 1533, 1536,
       1537, 1540, 1545, 1546, 1547, & 1553 on October 30, 2023, at 1:30 pm (Central Standard
       Time) before the United States Bankruptcy Court, Houston Division. For persons wishing
       to appear in person, the hearing will be held at the United States Courthouse, 1701 W.
       Business Hwy 83, 10th Floor Courtroom, McAllen, TX 78501.

3.     Each party who filed or has an interest in the above pending motions should be prepared
       to provide the Court a status update as to whether the motion is
       unopposed/moot/withdrawn/or needs to be set for a final hearing. If a motion is unopposed,
       the Court may receive evidence at this hearing as time permits for the purpose of resolving
       the motion. If a motion is opposed, the Court will schedule a final hearing at a date and
       time to be determined.

4.     To the extent that any other hearing was previously set with respect to the above referenced
       motions, they are cancelled.

5.     To participate electronically, parties must follow the instructions set forth on Judge
       Rodriguez’s web page located at: https://www.txs.uscourts.gov/content/united-states-
       bankruptcy-judge-eduardo-v-rodriguez. Parties are additionally instructed to: (i) call in
       utilizing the dial-in-number for hearings before Judge Rodriguez at 832-917-1510,
       conference room number 999276 and (ii) log on to GoToMeeting for video appearances
       and witness testimony, utilizing conference code: judgerodriguez. Parties MUST HAVE
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     TWO SEPARATE DEVICES to appear by video and telephonically. One device will
     be used to log on to GoToMeeting and the other will be used to call the telephonic
     conference line.

6.   Parties must comply with Bankruptcy Local Rule 9013-2 and Judge Rodriguez’s Court
     Procedures Section VII(b) regarding the exchange and submission of electronic exhibits.

7.   No later than October 20, 2023, Janet Northrup, Chapter 7 Trustee, must serve a copy of
     this Order on all parties entitled to notice of the hearing and file a certificate of service with
     the Clerk’s office.


      SIGNED October 19, 2023



                                                        ________________________________
                                                                Eduardo V. Rodriguez
                                                         Chief United States Bankruptcy Judge
